8:13-cr-00223-JMG-TDT        Doc # 46     Filed: 11/13/13    Page 1 of 11 - Page ID # 213



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                     Plaintiff,                                8:13CR223
      vs.
                                                              FINDINGS AND
ALEX C. TAYLOR,                                             RECOMMENDATION
                     Defendant.

       This matter is before the court on the defendant’s, Alex C. Taylor (Taylor), Motion
to Suppress (Filing No. 32). Taylor is charged in the Indictment with a conspiracy to
distribute and possess with intent to distribute methamphetamine (Count I), in violation
of 21 U.S.C. § 846, and the possession with intent to distribute methamphetamine and
heroin (Counts II and III), in violation of 21 U.S.C. § 841(a)(1) and (b)(1). See Filing No.
1 - Indictment. Taylor seeks to suppress statements Taylor gave to police and items
seized as a result of an automobile search. See Filing No. 32 - Motion.
       The court held an evidentiary hearing on October 24, 2013. Taylor participated
by telephone.     Joseph L. Howard represented Taylor.           The United States was
represented by Assistant U.S. Attorney David M. Wear.            The court received into
evidence three photographs of ruse checkpoint road signs (Exs. 1-3), a Google map
satellite view of the Maxwell, Nebraska, interchange on Interstate 80 (Ex. 4), Nebraska
State Patrol (NSP) Sergeant Gordon Downing’s (Sergeant Downing) patrol vehicle
video (Ex. 5), a Jeep rental agreement (Ex. 6), a Uniform Citation and Complaint (Ex.
7), a Violation/Warning Form (Ex. 8), and Trooper Hayes’ patrol vehicle video (Ex. 9). A
transcript of the hearing (TR.) was prepared and filed on October 29, 2013. See Filing
No. 45.


                                  FINDINGS OF FACT
       On Friday, April 19, 2013, Sergeant Downing, employed with the NSP for fifteen-
and-a-half years, conducted a ruse checkpoint operation east of Lincoln County,
Nebraska, at the Maxwell interchange on Interstate 80 (TR. 4-10). A ruse checkpoint
involves placing signs along the interstate indicating drivers should be prepared to stop
a mile ahead at a NSP checkpoint (TR. 10). There is no actual checkpoint (TR. 12).
8:13-cr-00223-JMG-TDT          Doc # 46   Filed: 11/13/13   Page 2 of 11 - Page ID # 214



The NSP places the signs near an interchange where there is minimum traffic or a rural
area and troopers watch the interchange exit ramp for drivers who attempt to avoid a
checkpoint by exiting the interstate prior to the checkpoint (TR. 10). Sergeant Downing
would stop a vehicle if he witnessed a driver commit a traffic or law violation (TR. 10).
On April 19, 2013, Sergeant Downing placed two signs before the eastbound exit on the
Maxwell interchange and one sign immediately past the exit (TR. 12, 56). Sergeant
Downing stationed his police vehicle southeast of the Maxwell interchange and used
binoculars to monitor vehicles using the eastbound exit (TR. 13-14, 57-58). Sergeant
Downing parked his patrol vehicle approximately 200 yards from the eastbound exit to
avoid being seen by the drivers exiting the interstate (TR. 14, 58, 64).         Sergeant
Downing had an unobstructed view of the eastbound exit and the stop sign at the end of
the exit (TR. 14-15, 58-59).
       At 12:05 p.m., on April 19, 2013, Sergeant Downing observed a white Jeep use
the eastbound exit on Interstate 80 at the Maxwell interchange, begin to turn right, and
then turn left and drive north on the Maxwell link without using turn signals or coming to
a complete stop at the stop sign (TR. 12-14, 60-61, 73). After witnessing two traffic
violations, Sergeant Downing turned north on to the Maxwell link and followed the Jeep
over the overpass (TR. 17-18). Sergeant Downing activated his patrol vehicle’s video
recorder as he drove onto the overpass (TR. 19). Although the video captures thirty
seconds prior to activation, the video did not capture the traffic violations (TR. 19, 58).
Sergeant Downing delayed in activating the camera because he had to engage his seat
belt and back out of his parking spot (TR. 61-63). After Sergeant Downing drove over
the overpass, Sergeant Downing followed the Jeep into a gas station and saw the Jeep
drive past the west side of the east pumps and park on the east side of the east pumps
(TR. 18). Sergeant Downing thought the behavior was unusual because the driver
drove by both times with the driver’s side facing the pumps (TR. 18). Sergeant Downing
testified this indicated nervous behavior (TR. 28).
       Sergeant Downing activated his lights and parked his patrol vehicle behind the
Jeep as the front passenger exited the Jeep and walked toward the gas station store
and the driver exited the Jeep and walked toward Sergeant Downing (TR. 20-21).
Sergeant Downing told the driver to stop, informed the driver and passenger this was a
traffic stop, and asked them to return to the Jeep (TR. 21).         After the driver and
                                             2
8:13-cr-00223-JMG-TDT         Doc # 46     Filed: 11/13/13    Page 3 of 11 - Page ID # 215



passenger returned to the Jeep and shut the doors, Sergeant Downing approached the
Jeep and asked for their identification (TR. 21). Sergeant Downing identified the driver
as Deontae Griffin (Griffin) and the passenger as Taylor (TR. 21). Sergeant Downing
advised Griffin and Taylor of the reason for the traffic stop, asked to see a rental
agreement (as he noticed the Jeep was a rental), and had Griffin accompany Sergeant
Downing to the patrol vehicle (TR. 21-22).
       Once in the Sergeant Downing’s vehicle, Sergeant Downing reviewed Griffin’s
and Taylor’s paperwork, requested background checks on Griffin and Taylor, and asked
Griffin questions regarding Griffin’s travel plans (TR. 24). Griffin said he was traveling to
the University of Nebraska in Lincoln, Nebraska, for a football pro-day (TR. 24-26).
Griffin told Sergeant Downing that Griffin did not own a car and a cousin rented the
Jeep for Griffin (TR. 25-26). Sergeant Downing asked Griffin whether Griffin had a valid
license and had a criminal record (TR. 27). Griffin responded he had a valid license and
had never been arrested (TR. 27). Sergeant Downing asked why Griffin exited the
interstate (TR. 27). Griffin stated he exited to refill his gas tank, which was half-full (TR.
27-28). Griffin said he drove around the pumps to get on the correct side for fuel (TR.
28). When Sergeant Downing pointed out Griffin kept the pumps on the same side of
the Jeep both times, Griffin responded, “Well, then I don’t know why I did it.” (TR. 28).
Griffin attempted on multiple occasions during the traffic stop to engage Sergeant
Downing in a conversation regarding sports while they waited for the background
checks to complete (TR. 29). Sergeant Downing noted Griffin seemed like he was
trying to dominate the conversation (TR. 29-30).         During their conversation, Griffin
breathed heavily and his top lip and hands shook (TR. 30).               Sergeant Downing
considered Griffin’s level of nervousness beyond the motoring public’s average level of
nervousness (TR. 30). Griffin’s level of nervousness decreased by a small degree over
the course of the traffic stop, although his nervousness was still noticeable (TR. 30).
       Approximately ten minutes after Sergeant Downing initiated the traffic stop,
Sergeant Downing received Griffin and Taylor’s background information (TR. 31).
Sergeant Downing learned Griffin had prior arrests and California had suspended
Griffin’s license (TR. 31). Sergeant Downing asked Griffin about the suspended license
and Griffin provided a reason for the suspension; however, Sergeant Downing did not
recall the reason at the hearing (TR. 31-32).           Sergeant Downing noted Griffin’s
                                              3
8:13-cr-00223-JMG-TDT             Doc # 46      Filed: 11/13/13       Page 4 of 11 - Page ID # 216



suspended license and criminal history as relevant because first, Griffin should not have
been driving, and second, Griffin lied to Sergeant Downing twice (TR. 32).                   After
confronting Griffin with Griffin’s record, Griffin and Sergeant Downing returned to
discussing Griffin’s pro-day trip and the fastest route to Lincoln, Nebraska (TR. 33). In
addition to discussing football, Sergeant Downing and Griffin returned to discussing
Griffin’s travel plans (TR. 33-40). Griffin informed Sergeant Downing that Griffin and
Taylor left California on April 18, 2013, and were not staying in Lincoln, but would return
to California after the pro-day (TR. 33-34).              Sergeant Downing considered this an
unusually quick turnaround (TR. 34).              Griffin stated he was not in school and not
working (TR. 35-36). Griffin stated his mother paid for the rental and rented the Jeep
about two days before Griffin and Taylor’s trip (TR. 35-36). Sergeant Downing asked
who Mario Crumble (Crumble) was as he was listed on the rental agreement (TR. 36).
Griffin said Crumble was Griffin’s uncle and then corrected himself and said he was
Crumble’s uncle (TR. 36).           Sergeant Downing also asked whether Griffin was an
authorized driver as the rental agreement noted “No other drivers permitted” (TR. 37).1
       After approximately 25 minutes from initial contact with Griffin and Taylor,
Sergeant Downing explained Griffin would receive a citation for not having a valid
operator’s license and a warning for failure to stop and signal (TR. 31, 38, 66).
Sergeant Downing informed Griffin due to Griffin’s suspended license, he would not be
able to continue to drive the Jeep (TR. 39-40, 67-68, 70-71).                   Sergeant Downing
provided Griffin with the citation and warning documents, Griffin’s driver’s license, and
the rental agreement and asked Griffin to wait outside the passenger door of the
Sergeant Downing’s patrol vehicle while Sergeant Downing spoke with Taylor (TR. 40-
41).
       Sergeant Downing approached Taylor, who was sitting in the front passenger
seat of the Jeep, and advised Taylor of Griffin’s suspended license and asked Taylor
whether he was comfortable driving (TR. 41). Sergeant Downing also asked Taylor
about Taylor’s travel plans (TR. 41-42). Taylor said he was going to visit a college and
would stay in Nebraska until Sunday and did not mention attending a pro-day (TR. 42).
Taylor stated Griffin’s cousin or uncle rented the Jeep (TR. 42).


       1
           The record does not indicate whether Griffin provided a response.
                                                    4
8:13-cr-00223-JMG-TDT            Doc # 46      Filed: 11/13/13       Page 5 of 11 - Page ID # 217



        Sergeant Downing noted Taylor’s responses were inconsistent with Griffin’s (TR.
43, 68-69). Sergeant Downing asked Taylor if there was anything illegal in the vehicle
(TR. 43-44). Taylor shook his head and said “no” (TR. 44). Sergeant Downing asked if
he could search the Jeep (TR. 44).             Taylor said “it was not his vehicle” (TR. 44).
Sergeant Downing asked again if he could search the Jeep and Taylor said “yes” (TR.
44). Sergeant Downing had Taylor step out of the Jeep and went to speak with Griffin
(TR. 44). Sergeant Downing asked Griffin if Griffin had drugs or anything illegal in the
Jeep (TR. 44). Griffin responded “no” to both questions (TR. 44). Sergeant Downing
asked if he could search the Jeep and Griffin responded “yeah, go ahead” (TR. 44-45).
Sergeant Downing did not yell, threaten, brandish his weapon, or make promises to
Griffin or Taylor when he asked for their consent (TR. 45-46). Griffin and Taylor did not
appear intoxicated and did appear to understand Sergeant Downing’s questions (TR.
46-47).     When Sergeant Downing asked for consent, there were no other officers
present (TR. 46-47).
        Sergeant Downing subsequently searched the Jeep (TR. 45). Griffin and Taylor
did not object to Sergeant Downing’s search or limit their consent (TR. 48-49). Shortly
after commencing the search, Trooper Hayes arrived on the scene (TR. 49). Sergeant
Downing advised Trooper Hayes that Sergeant Downing was conducting a consent
search of the Jeep but had only done a quick pat-down of Griffin and Taylor and not a
search of their persons (TR. 49). Trooper Hayes proceeded to search Griffin and Taylor
after obtaining their consent and placed them in his patrol vehicle (TR. 49-50). Trooper
Hayes had his video recorder activated in his patrol vehicle and captured
communication between Griffin and Taylor (TR. 50-51).2                  After securing Griffin and
Taylor, Trooper Hayes assisted Sergeant Downing’s search of the Jeep (TR. 51).
        Sergeant Downing noticed an old and out of place portable stereo in the Jeep
and remarked the screws on the bottom of the stereo had tool marks (TR. 51-52).
Sergeant Downing opened the CD hatch to look inside the stereo and saw plastic-
wrapped packages inside (TR. 52). Sergeant Downing opened the stereo and found
four packages of suspected drugs (TR. 52). After discovering the packages, Sergeant
Downing informed Taylor of the discovery and advised Taylor of his Miranda rights (TR.

        2
           The court reviewed the recording and any conversation between Taylor and Griffin was
inaudible. There was no other evidence presented as to the content of Taylor and Griffin’s conversation.
                                                   5
8:13-cr-00223-JMG-TDT        Doc # 46    Filed: 11/13/13    Page 6 of 11 - Page ID # 218



52-54). Taylor requested to have an attorney present (TR. 54-55). Trooper Hayes
subsequently took Griffin and Taylor to Lincoln County Jail while Sergeant Downing
retrieved all items of evidentiary value and had the Jeep towed (TR. 55-56).


                                   LEGAL ANALYSIS
A.     Traffic Stop
       Taylor argues Sergeant Downing did not conduct a valid traffic stop because, by
the time Sergeant Downing pulled into the gas station, Griffin and Taylor had already
stopped and exited the Jeep. See Filing No. 33 - Brief p. 4.
       “A traffic violation, no matter how minor, provides an officer with probable cause
to stop the driver.   An officer is justified in stopping a motorist when the officer
objectively has a reasonable basis for believing that the driver has breached a traffic
law.” United States v. Coleman, 700 F.3d 329, 334 (8th Cir. 2012) (internal quotations
and citations omitted). “An otherwise constitutional traffic stop is not invalidated by the
fact that it was mere pretext for a narcotics search.” United States v. Wright, 512 F.3d
466, 471 (8th Cir. 2008) (internal quotation marks omitted). “An officer may initiate a
traffic stop after the driver has stopped the car and exited the vehicle.” United States
v. Randolph, 628 F.3d 1022, 1024 (8th Cir. 2011).
       According to Neb. Rev. Stat. § 60-6,161:
                     (1) No person shall turn a vehicle or move right or left
              upon a roadway unless and until such movement can be
              made with reasonable safety nor without giving an
              appropriate signal in the manner provided in sections 60-
              6,162 and 60-6,163.
                     (2) A signal of intention to turn or move right or left
              when required shall be given continuously during not less
              than the last one hundred feet traveled by the vehicle before
              turning.
Neb. Rev. Stat. § 60-6,161(2). Additionally, failure to stop at a stop sign is a traffic
violation under Nebraska law. See Neb. Rev. Stat. § 60-6,148(2).
       In the instant matter, Sergeant Downing observed the Jeep exit Interstate 80 and
approach the bottom of the exit ramp. Sergeant Downing observed the Jeep begin to
turn right and then turn left without using a signal to turn in either direction. Sergeant
Downing also observed the Jeep turn without coming to a complete stop at the stop
sign. Sergeant Downing utilized binoculars to watch the Jeep and nothing obstructed
                                            6
8:13-cr-00223-JMG-TDT           Doc # 46   Filed: 11/13/13   Page 7 of 11 - Page ID # 219



his view of the Jeep. The court finds Sergeant Downing had probable cause to stop the
Jeep. Further, the court finds Sergeant Downing did in fact conduct a traffic stop even
though Griffin and Taylor had already stopped and were exiting the Jeep at the gas
station. See Randolph, 628 F.3d at 1024.


B.     Investigative Detention
       Taylor argues the traffic stop lasted longer than necessary and Sergeant
Downing lacked reasonable suspicion to justify prolonged detention. See Filing No. 33 -
Brief p. 5.
       Contemporaneous with a valid traffic stop, the officer may “conduct an
investigation that is reasonably related in scope to the circumstances that initially
justified the stop.” United States v. Bracamontes, 614 F.3d 813, 816 (8th Cir. 2010).
In fact, a police officer may detain the occupant while completing a number of routine
tasks such as computerized checks of the vehicle registration, driver’s license and
criminal history, and issuing a citation. United States v. Quintero-Felix, 714 F.3d 563,
567 (8th Cir. 2013); see also United States v. Sokolow, 490 U.S. 1, 7 (1989).
Additionally, an officer may inquire about the driver and other occupant’s destination,
purpose of the trip and whether the police officer may search the vehicle. Quintero-
Felix, 714 F.3d at 567; United States v. Mendoza, 677 F.3d 822, 828 (8th Cir. 2012).
“Asking an off-topic question, such as whether a driver is carrying illegal drugs, during
an otherwise lawful traffic stop does not violate the Fourth Amendment.” United States
v. Riley, 684 F.3d 758, 764 (8th Cir. 2012).
       “If ‘the responses of the detainee and the circumstances give rise to suspicions
unrelated to the traffic offense, an officer may broaden his inquiry to satisfy those
suspicions.’” United States v. Ward, 484 F.3d 1059, 1061 (8th Cir. 2007) (quoting
United States v. Johnson, 58 F.3d 356, 357 (8th Cir. 1995)). In any event, the scope
and length of any investigation must be reasonable. United States v. Riley, 684 F.3d
758, 765 (8th Cir. 2012). “The investigatory methods employed . . . should be the least
intrusive means reasonably available to verify or dispel the officer’s suspicion in a short
period of time.”   El-Ghazzawy v. Berthiaume, 636 F.3d 452, 459 (8th Cir. 2011)
(internal citations omitted).    “A constitutionally permissible traffic stop can become
unlawful, however, ‘if it is prolonged beyond the time reasonably required to complete’
                                               7
8:13-cr-00223-JMG-TDT        Doc # 46     Filed: 11/13/13    Page 8 of 11 - Page ID # 220



its purpose.” United States v. Shafer, 608 F.3d 1056, 1062 (8th Cir. 2010) (quoting
Illinois v. Caballes, 543 U.S. 405, 407 (2005)). A motorist necessarily consents to an
extension of the traffic stop when he consents to a search of the vehicle.           See
Quintero-Felix, 714 F.3d at 568; United States v. Rivera, 570 F.3d 1009, 1013 (8th
Cir. 2009).
       Sergeant Downing’s traffic stop of Griffin and Taylor was reasonable in duration.
After approximately twenty-eight minutes, Sergeant Downing had Griffin’s and Taylor’s
consent the search the Jeep. By giving their consent to search, Griffin and Taylor
thereby consented to an extension of the traffic stop. During the twenty-eight minutes
prior to consent, Sergeant Downing performed routine tasks attendant with a traffic stop,
such as conducting computerized checks of Griffin and Taylor’s licenses and criminal
histories and writing a citation and warning.      Additionally, Sergeant Downing asked
permissible questions regarding Griffin and Taylor’s travel plans and the rental
agreement for the Jeep. Further, Sergeant Downing was within his authority to ask
whether Griffin and Taylor had illegal items in the Jeep. See Riley, 684 F.3d at 764;
United States v. Olivera-Mendez, 484 F.3d 505, 511 (8th Cir. 2007) (finding no
unreasonable seizure occurred during traffic stop based on probable cause when officer
asked three questions about drug possession, which were unrelated to the traffic stop).
       To the extent Taylor argues the traffic stop became unreasonably extended after
Sergeant Downing gave Griffin the citation, warning, and personal documents, Taylor’s
argument is unpersuasive.      Although Sergeant Downing gave Griffin the necessary
documents, the issue of who would drive the Jeep was unresolved, therefore Sergeant
Downing needed to determine whether Taylor could drive, which required Sergeant
Downing to actually speak with Taylor. Sergeant Downing asked Taylor questions in
addition to whether Taylor could drive, but as previously stated, questions regarding
travel plans and illegal drugs are permissible, especially considering Griffin’s unusual
answers regarding travel plans and the Jeep, Griffin’s nervousness, and Griffin’s lies
regarding his license and criminal history. After considering the length of the traffic
stop, the tasks performed during the stop, and the questions asked, the court finds no
constitutional infirmity with Sergeant Downing’s traffic stop.




                                             8
8:13-cr-00223-JMG-TDT         Doc # 46    Filed: 11/13/13    Page 9 of 11 - Page ID # 221



C.      Consent
        Taylor argues consent to search the Jeep was not voluntarily given as a result of
the stress created by the prolonged detention. See Filing No. 33 - Brief p. 5.
        To claim Fourth Amendment protection, a defendant must demonstrate that he
personally has an expectation of privacy in the place searched, and that his expectation
is reasonable. See Minnesota v. Carter, 525 U.S. 83, 88 (1998); United States v.
Ruiz-Zarate, 678 F.3d 683, 689 (8th Cir. 2012). The reasonableness of the expectation
of privacy must have “a source outside of the Fourth Amendment, either by reference to
concepts of real or personal property law or to understandings that are recognized and
permitted by society.” Rakas v. Illinois, 439 U.S. 128, 143-44 n.12 (1978); see also
Smith v. Maryland, 442 U.S. 735, 740-41 (1979). “If a defendant fails to prove a
sufficiently close connection to the relevant places or objects searched he has no
standing to claim that they were searched or seized illegally.”          United States v.
Barragan, 379 F.3d 524, 529-30 (8th Cir. 2004) (quoting United States v. Gomez, 16
F.3d 254, 256 (8th Cir. 1994)).      A mere passenger in a vehicle has no legitimate
expectation of privacy and therefore does not have standing to challenge a search of a
vehicle. See United States v. Crippen, 627 F.3d 1056, 1063 (8th Cir. 2010).
        Griffin stated his relative rented the Jeep and provided the Jeep for Griffin’s use.
Griffin and Taylor both informed Sergeant Downing that Griffin was responsible for the
Jeep.    Taylor even informed Sergeant Downing the Jeep was not Taylor’s vehicle.
Therefore, Taylor does not have standing to contest Griffin’s consent to search the
Jeep.
        Assuming arguendo Taylor has standing to contest the consent to search, the
evidence demonstrates Griffin and Taylor both voluntarily consented to Sergeant
Downing’s search. The Constitution guarantees the “right of the people to be secure in
their persons, houses, papers, and effects, against unreasonable searches and
seizures.” U.S. Const. amend. IV. “While the Fourth Amendment does not permit
warrantless searches, law enforcement may conduct such a search if they obtain [the
owner’s] voluntary consent.” United States v. Quintero, 648 F.3d 660, 667 (8th Cir.
2011). “Whether consent is voluntary is a question of fact . . . considering whether from
the totality of the circumstances the officer reasonably believed the search was
consensual.”    United States v. Garcia, 613 F.3d 749, 753 (8th Cir. 2010). Some
                                             9
8:13-cr-00223-JMG-TDT        Doc # 46    Filed: 11/13/13     Page 10 of 11 - Page ID # 222



personal characteristics that aid in determining voluntariness of consent are age,
intelligence, whether an individual was under the influence of drugs or alcohol, whether
an individual was read his Miranda rights, and whether an individual had experienced
prior arrests. See United States v. Capps, 716 F.3d 494, 497 (8th Cir. 2013) (listing
factors). A court may also look at environmental factors including, the period of time the
individual was detained; whether the police threatened, physically intimidated, or
punished the individual; whether promises or misrepresentations were made upon
which the individual relied; whether the individual was in custody or under arrest at the
time of consent; whether the consent occurred in a public or secluded place; and
whether the individual objected or stood by silently while the search occurred. See
United States v. Hambrick, 630 F.3d 742, 747-48 (8th Cir. 2011). This is a non-
exhaustive list to assist the court’s determination. Quintero, 648 F.3d at 667. “The
government has the burden to prove the consent was voluntary by a preponderance of
the evidence and based upon the totality of the circumstances.”           United States v.
Beasley, 688 F.3d 523, 531 (8th Cir. 2012).
       Sergeant Downing’s stop of Griffin and Taylor was not unconstitutionally
prolonged so as to create a coercive environment as Taylor suggests. See Garcia, 613
F.3d at 754 (holding a stop was not unreasonably prolonged when “[t]he whole
encounter lasted less than 30 minutes”); United States v. Suitt, 569 F.3d 867, 871 (8th
Cir. 2009) (“[T]here is no per se time limit on all traffic stops.”). Additionally, reviewing
the personal characteristics and environmental factors, Griffin and Taylor are adults, the
gas station was not police dominated, Griffin and Taylor did not appear under the
influence of alcohol or drugs, and Sergeant Downing did not employ threats, promises,
misrepresentations, or brandish a weapon to obtain their consent. Based on the totality
of the circumstances, the court finds Griffin and Taylor voluntarily consented to the
search of the Jeep.


D.     Statements
       In Taylor’s conclusion, he argues all statements he made as a result of his
encounter with Sergeant Downing should be suppressed. See Filing No. 33 - Brief p. 5.
       Under the Fifth Amendment, the Self-Incrimination Clause provides, “No person
. . . shall be compelled in any criminal case to be a witness against himself.” U.S.
                                             10
8:13-cr-00223-JMG-TDT        Doc # 46     Filed: 11/13/13    Page 11 of 11 - Page ID # 223



Const. amend. IV. “[T]he core protection afforded by the Self-Incrimination Clause is a
prohibition on compelling a criminal defendant to testify against himself at trial.” United
States v. Patane, 542 U.S. 630, 637 (2004). The touchstone for the admissibility of a
defendant’s statements is voluntariness. Brown v. Mississippi, 297 U.S. 278, 285-87
(1936). It is well settled a law enforcement official is required to advise an individual of
his or her Miranda rights before questioning if that individual is in custody. See United
States v. Muhlenbruch, 634 F.3d 987, 995 (8th Cir. 2011).
       Taylor was Mirandized and asked for an attorney. The records indicates Taylor
was not further interrogated. Any statements Taylor made to Griffin while sitting in
Trooper Hayes’ patrol vehicle were not the result of a custodial interrogation and do not
require suppression.     Lastly, the traffic stop and search did not violate Taylor’s
constitutional rights; therefore, there is no “fruit of the poisonous tree” issue with regard
to any statements. Accordingly,


       IT IS RECOMMENDED TO SENIOR JUDGE RICHARD G. KOPF:
       The defendant’s Motion to Suppress (Filing No. 32) be denied.


                                          ADMONITION
       Pursuant to NECrimR 59.2 any objection to this Findings and Recommendation
shall be filed with the Clerk of the Court within fourteen (14) days after being served with
a copy of this Findings and Recommendation. Failure to timely object may constitute a
waiver of any such objection. The brief in support of any objection shall be filed at the
time of filing such objection. Failure to file a brief in support of any objection may be
deemed an abandonment of the objection.


       Dated this 13th day of November, 2013.

                                                  BY THE COURT:

                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge




                                             11
